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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
PEN/FTB/DJ                                        271 Cadman Plaza East
F. #2013R01395                                    Brooklyn, New York 11201



                                                  June 30, 2016


By Hand Delivery and ECF

Moe Fodeman, Esq.
Catherine Grealis, Esq.
Wilson Sonsini Goodrich & Rosati
1301 Avenue of the Americas
40th Floor
New York, NY 10019

                Re:   United States v. Syed Imran Ahmed
                      Criminal Docket No. 14-277 (DLI)

Dear Counsel:

               The government writes to make certain disclosures pursuant to Giglio v.
United States, 405 U.S. 150 (1972). First, the government discloses that potential trial
witness Roberta Dixon, who recently retired from Franklin Hospital, has signed a consulting
contract with the hospital to provide assistance with the hospital’s ongoing subpoena
response (including file review and government interviews). In the contract, Northwell
Health (the corporate successor to Franklin Hospital) agreed to pay Ms. Dixon $100 per hour
for this work, which began prior to Ms. Dixon’s retirement. A copy of the contract will be
included with the government’s next production of 3500 material.

               In addition, the government discloses that potential trial witness Syed Rehan
Ahmed was the part owner, along with two other co-owners, of a business called Perfect
Home Health. One of Mr. Ahmed’s co-owners was an individual named Rehan Khan. A
federal grand jury sitting in the Eastern District of Michigan returned an indictment against
Mr. Khan in August 2011. The indictment charged him with conspiracy to commit health
care fraud (18 U.S.C. § 1349); conspiracy to pay and receive health care kickbacks (18
U.S.C. § 371); and money laundering (18 U.S.C. §§ 1956, 1957). In June 2012, Mr. Khan
pleaded guilty to count one of a superseding indictment charging him with conspiracy to
commit health care fraud (18 U.S.C. § 1349). In May 2013, Mr. Khan was sentenced to sixty
months in prison. The docket number for the criminal case is 11-CR-20540. None of the
charged conduct related to Perfect Home Health or Mr. Rehan Ahmed.
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                Finally, the government discloses that Dr. Frank Ross, whom the government
expects to call as an expert witness, has been sued for malpractice on other occasions besides
those identified in the government’s second set of motions in limine. Dr. Ross cannot
remember the details of these suits, other than that one involved an individual named Louise
Woods. A search of the New York State Supreme Court website has not turned up any
additional cases. Dr. Ross’s memory is that these other suits were either dismissed by the
court in their entirety without any finding of liability against Dr. Ross or that he was
individually dismissed as a party to these suits without any finding of liability.

                                                  Very truly yours,

                                                  ROBERT L. CAPERS
                                                  United States Attorney

                                           By:    /s/ F. Turner Buford
                                                  F. Turner Buford
                                                  Trial Attorney
                                                  718-254-6483

cc:    Clerk of the Court (DLI) (by ECF)
       Greg Andres, Esq. (by E-mail and ECF)
       Sarah Breslow, Esq. (by E-mail and ECF)




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